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                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA

   SX Holdings LLC,
   on behalf of themself and all others
   similarly situated,

                Plaintiff,

   v.                                       JURY TRIAL DEMANDED

   ICONTAINERS USA, INC., and
   ICONTAINERS SOLUTIONS SL,

                Defendants.

                     CLASS ACTION COMPLAINT FOR
                    MONETARY AND INJUNCTIVE RELIEF

        Plaintiff SX Holdings LLC (“Plaintiff”) files this Class Action Complaint on

  behalf of itself and all others similarly situated, by and through the undersigned

  attorneys, against Defendants iContainers (USA), Inc. (hereinafter “iContainers

  USA”) and iContainers Solutions SL (hereinafter “iContainers SL”), and states:

                               I.    INTRODUCTION

        1.     This is a class action on behalf of Plaintiff and a class of all other

  similarly situated customers against iContainers USA and its parent company,

  iContainers SL. iContainers is an online company that allows users to arrange door-

  to-door shipments of overseas freight for imports, exports, and overseas moves.

  According to the managing Director and Co-founder of iContainers SL, and
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  President of iContainers USA, Carlos Hernandez (“Hernandez”), Defendants’ online

  service is “like what FedEx does with letters and packages…saying that customers

  don’t need to hire a shipping broker or another intermediary to manage logistics.” It

  was further described by its leadership as the “world’s first freight forwarder to ever

  provide all their services completely online, a one stop B2B and B2C platform for

  pickups, delivery, customs, international freight, insurance and door to door

  shipment options.”1 Customers are recognized to use iContainers as if it were the

  “Expedia” of freight shipping in that they enter the details of their business, the

  company provides a quote, and the customer believes that this quote to be accurate

  and to not change later in the course of business.2

         2.     On their website, icontainers.com, Defendants claim that the company

  is “Fueling the future of ocean freight” and they tout their “door to door” shipping

  services, which they explain means they provide “All-inclusive shipping rates”, and

  they leave no doubt that what “all inclusive” means:




  1
    https://www.worldcityweb.com/freight-forwarder-icontainers-starts-door-to-door-u-s-spain-
  service
  2
    https://techcrunch.com/2016/06/07/icontainers-expedia-for-transporting-freight-internationally-
  raises-6-7-
  million/?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referre
  r_sig=AQAAAGeCLQYHtX2LUcRmZhstV37NF1jBaJOlEC99fNRcRnl50OIoJbwnvGfxtXN9
  Lmqn3WmalTFQnCC7EdDm44BdNSMeh5G22ufOk0XdVnU2AxvW-
  4uzex9JSaK7OBlFXgpsvmtYu2XSl8xeESwhB5dl96iwXJtL2Ck2MXtS5gT2ky_a



                                                 2
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  https://www.icontainers.com/ocean-freight/what-is-door-to-door/.

            3.   Hernandez has also stated that the technology was developed “to

  simplify the reservation process of overseas shipping while eliminating hidden

  charges and bringing transparency to the shipping industry.”3 In practice,

  iContainers does the exact opposite.

            4.   To all intents and purposes, Defendants lured Plaintiff using a “bait and

  surcharge” practice. What this entails is that, notwithstanding the supposedly “all

  inclusive” rates, Defendants offer an attractive price to gain a customer’s




  3
      Id.


                                              3
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  commitment and then keep adding “unexpected” fees after customers have entered

  into a contract.4

            5.     Specifically, in December 2020, Plaintiff contracted with Defendants

  to have them arrange to handle a small shipment of construction materials from

  China to Washington D.C. after receiving an all-encompassing quote from

  iContainers for $811.95. Plaintiff agreed to this price. In addition, pursuant to the

  terms stated by iContainers, the goods were estimated to depart from China by

  December 22nd, 2020 and arrive to Washington D.C. on January 19th, 2021. Once

  Defendants took possession of the construction materials in China, Defendants

  demanded additional payments for additional charges in excess of this quoted price

  and demanded separate charges for items that it previously represented were

  included in this Booking. Throughout the process, once Plaintiff’s shipment was in

  Defendants’ possession and control, Defendants held Plaintiff’s cargo hostage until

  Plaintiff paid Defendants’ new separate, and hence “ransom,” charges.

            6.     Ultimately, Plaintiff ended up paying more than double the contracted

  price in order to get Defendants to deliver its shipment to its final destination in

  Washington, D.C. Furthermore, the goods arrived approximately one month after

  they were contracted to arrive, on February 12th, 2021, causing Plaintiff economic

  injury.


  4
      https://hbr.org/2019/02/its-time-to-ban-hidden-fees


                                                    4
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        7.     Plaintiff is not alone.   As set forth below, Defendants’ “bait and

  surcharge” scheme is part of their modus operandi – it is their pattern and practice.

  Accordingly, this case can, and should, proceed as a class action.

                           JURISDICTION AND VENUE

        8.     The Court has jurisdiction over this action pursuant to the Class Action

  Fairness Act 28 U.S.C. § 1332(d), because there are believed to be at least 100 Class

  members in the proposed Class; the combined claims of proposed Class members

  exceed $5,000,000, exclusive of interest and costs; the Plaintiff is domiciled in Los

  Angeles, California; and Defendant iContainers SL conducts business in the United

  States through and from iContainers USA’s principal place of business in the United

  States located in Miami-Dade County, and throughout the State of Florida and the

  United States.

        9.     iContainers SL is headquartered in Barcelona, Spain and conducts its

  business in the United States through iContainers USA. Hernandez is both a

  Managing Director and Co-Founder of iContainers SL and President of iContainers

  USA. The services of both iContainers SL and iContainers USA are made available

  through a single website: www.icontainers.com. As these entities are operated, and

  provided the contracted for services, in unison, iContainers SL has sufficient

  contacts in this District for this Court to exercise jurisdiction over it. It has




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  purposefully availed itself of the privilege of conducting activities within Florida

  and the United States, and thus has invoked the benefits and protections of their laws.

                                       PARTIES

        10.    Plaintiff, SX Holdings LLC, a limited liability company, is an import

  and export company located in Los Angeles, California. Plaintiff is an importer and

  wholesaler of ceramic and natural stone products such as tiling, wall paneling and

  countertops used in residential and commercial building construction. It purchases

  materials from abroad and believed that using Defendants’ services, as advertised

  and promised, would have aided its business. Plaintiff would have continued to use

  such services if they were provided in the manner so promised.

        11.    Defendant, iContainers USA is the entity through which iContainers SL

  conducts its operations in the United States. iContainers USA is registered as a

  Foreign For-Profit Corporation with the Florida Division of Corporations and has its

  sole place of business in Miami, Florida.

        12.    Defendant, iContainers SL is a Spanish corporation whose address is

  C/ Diputació 180, 50° 08011, Barcelona, Spain.

        13.    Defendant iContainers USA is located at 1400 Biscayne Center Blvd.

  #208, Miami, FL, 33132. iContainers USA is also a licensed US ocean freight

  forwarding company and a non-vessel operating common carrier (NVOCC). A

  freight forwarder is engaged in all modes of transportation including international


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  and domestic loads. It is involved with the client from arranging the shipment,

  preparing documentation, customs clearance, warehousing and delivery, all critical

  parts to provide service to the supply chain on behalf of the client. A NVOCC is an

  ocean “carrier” that does not have their own ships. Instead, it leases space from ocean

  carriers on its customer’s behalf. A company must be a freight forwarder to be an

  NVOCC in order to incorporate ocean logistics into their service of offerings. In

  this transaction, Defendants had the responsibility to arrange for the transport of

  Plaintiff’s cargo and move it through the supply chain to Plaintiff’s specified

  destination. They were also Plaintiff’s “carrier” for liability purposes.

        14.    Items that affect the costs of freight forwarding are the type of

  transportation (whether by land or sea), distance and destination, cargo weight and

  volume, value of goods, types of goods, and freight forwarder charges and fees.

  When their services are booked, freight forwarding companies like the Defendants

  then provide a price breakdown for moving goods based on these factors.

                             FACTUAL ALLEGATIONS

        15.    On November 23rd, 2020, Plaintiff received a request for building

  samples from a client in Washington D.C. Plaintiff needed to arrange transportation

  for these building materials which were manufactured in China to be delivered in

  Washington, D.C. This was a small order and did not require a full container (FCL




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  (full container load)) but rather, a shared shipping container, which is termed in the

  industry as (LCL (less than container load) service.

        16.    On December 2nd, 2020, Plaintiff arranged for the freight shipment with

  iContainers based upon a price provided and quoted by Defendants that was $811.95

  with a quoted delivery date of January 19th, 2021. This price and delivery date was

  based on an agreement to ship from the port of Xiamen, China to the port of

  Baltimore and then by truck to a construction site in Washington D.C.

        17.    In actuality, the quoted price was not based on any reasonable

  commercial estimate, as Defendants knew or should have known. Rather, this was

  the “bait” part of their “bait and surcharge” scheme.

        18.    On December 8th, Defendants notified Plaintiff that his goods would

  not be shipped until December 21st (even though there had been discussions after

  December 2nd about an earlier date).

        19.    On December 18th, Plaintiff checked with Defendants as to the status of

  the cargo and learned that the goods were “in port” and ready for loading. Defendants

  confirmed everything was on schedule.

        20.    Subsequent to the confirmation that everything was on schedule,

  Defendants sent Plaintiff an e-mail and voicemail asking Plaintiff if it had its own

  broker to handle customs. The booking agreement Plaintiff entered into with

  Defendants specified delivery by Defendants to a location in Washington, D.C. after



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  shipment to the port in Baltimore. This was based upon Defendants representation

  on its website that its “Door-to-Door Shipping Rates” included “Custom Clearance

  Fees” (see paragraph 2 above) as well as standard custom in the international

  shipping business. Plaintiff reasonably believed that a broker for customs (if one

  were even needed, and quite often one is not) was part of the services included in

  the agreement. Defendants then offered to “take care of customs” for Plaintiff but

  did not state that there would be additional fees for the service.

         21.   On December 21st, Plaintiff provided the Defendants with all the

  information needed for customs.

         22.   On January 4th, Defendants provided the cargo’s sea-freight tracking

  number to Plaintiff.

         23.   On January 8th, Plaintiff paid the Defendants $811.95 through wire-

  transfer.

         24.   On January 18th, Defendants sent Plaintiff a delayed delivery notice

  informing Plaintiff that the cargo would not be delivered on the agreed delivery date

  of January 19th but instead would be delivered on January 28th.

         25.   On January 21st, Defendants sent Plaintiff an additional invoice for

  $710.01 for customs fees, bringing the quoted total from the agreed upon amount

  from $811.95 (which had been paid) to $1,521.96.




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          26.    Greatly concerned about this new, unexpected, and high customs fee

   surcharge, between January 22nd and February 1st, Plaintiff and Defendants engaged

   in communication e-mails regarding it. During those communications, Defendants

   essentially held Plaintiff’s cargo hostage, intentionally delaying delivery of the cargo

   until Plaintiff acceded to Defendants’ coercion and pay the charge.

          27.    On February 3rd, Plaintiff reluctantly paid Defendants the additional

   $710.01 through wire-transfer in order to get the cargo delivered to its destination.

          28.    On February 5th, Defendants confirmed the receipt of funds for $701.01.

          29.    On February 8th, Plaintiff’s cargo was put on land delivery from New

   York (not Baltimore as had been agreed) to a distribution center in Washington D.C.

   for delivery to its final destination.

          30.    On February 11th, Defendants asked Plaintiff for even more additional

   fees – this time $160.54 for “warehouse” fees, Defendants sent Plaintiff an invoice

   for $165.36 for these warehouse fees which included an additional $4.82 identified

   as a “PayPal fee”.

          31.    Given the importance of the cargo to Plaintiff’s business, Plaintiff had

   no choice but to pay the fees being essentially extorted from it and reluctantly paid

   this extra cost.

          32.    Some few hours after payment, incredibly, Defendants e-mailed

   Plaintiff stating that none of their truckers could candle the cargo’s commodity



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   (marble) and that Defendants would require another assessment for additional

   trucking costs resulting in an additional $234. Yet, Defendants were aware of the

   cargo’s exact weight and size at the time of contracting, as it was on Defendants’

   December 2nd quotation.

         33.    Again, Plaintiff reluctantly paid the extra costs to ensure the delivery of

   the important cargo.

         34.    On February 12th, Defendants arranged for the trucker to pick up the

   cargo from the distribution center in Washington, D.C. Shortly after, Defendants

   sent Plaintiff an e-mail stating that a “driver assist” would be required – which

   Plaintiff was informed, meant that the delivery would cost extra because the driver

   had to actually lift and deliver the product – and that this would cost yet another

   additional fee of $150. Plaintiff once again, in protest, reluctantly paid the extra cost

   to ensure delivery of the cargo.

         35.    On February 12th the goods were ultimately delivered.

         36.    On February 15th, Defendants sent Plaintiff yet another invoice for an

   additional $154.50 (for unspecified services), but Plaintiff disputed and refused to

   pay the charge.

         37.    On February 22nd, Plaintiff e-mailed Defendants outlining his concern

   with the entire shipping process and the additional charges being added that were far

   above the stated price for delivery. Plaintiff asked for a refund of the full difference



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   that Plaintiff ultimately paid and had contracted to pay in order to get the cargo

   delivered. Defendants refused and only agreed to drop the last invoice amount of

   $154.50, but did not refund any other disputed charges above the stated price.

          38.    By the end of the ordeal, Plaintiff’s cargo was delivered well after the

   originally quoted date. Plaintiff’s experience with Defendants caused Plaintiff to

   lose business with the company that was expecting the cargo. After two months of

   delays, Plaintiff’s customer became frustrated and decided not to do business with

   Plaintiff in the future.

          39.    Plaintiff, in total, incurred charges totaling $2,082.84, a $1,263.89

   increase from the agreed-upon amount (although, after disputing it, Defendants

   refunded $154.50 of the charges to Plaintiff, see paragraph 37, above).

          40.    Defendants did not perform as represented, from the time it issued its

   quote to Plaintiff, and notwithstanding its contentions that its rates were “all

   inclusive” and included numerous items (such as customs) for which it later assessed

   surcharges, it either knew or should have known of all reasonably anticipable

   expenses. But it intentionally misstated its quotation in order to provide a more

   attractive/competitive price to get Plaintiff’s business. And once it had obtained the

   business, it was able to coerce Plaintiff into paying additional charges because it

   literally was able to hold Plaintiff’s goods hostage until Plaintiff had to accede.




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         41.   Plaintiff’s experience with Defendants’ extortionist practices is not an

   isolated incident. Others have complained about their original quotes from

   iContainers changing drastically during their shipment process. The images below

   represent customer complaints on BBB and Yelp.




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                               CLASS ALLEGATIONS

         A.     The Proposed Class

         42.    Pursuant to Federal Rule of Civil Procedure 23(a), (b)(2), and (b)(3),

   Plaintiff brings this action on behalf of a class consisting of itself and all others

   similarly situated, and more specifically defined as: “All persons or entities in the

   United States: a) who contracted with Defendants using Defendants’ shipping

   platform; b) for a shipment involving oversea carriage and whose final destination

   was in the United States; c) who was subsequently billed for a charge in addition to

   the originally quoted amount for that same shipment; d) within the last four years




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   preceding the filing of this Complaint and continuing until Defendants stop their bait

   and switch practices (the “Class”).

         43.    Excluded from the Class are: (a) any executive, officer, employee,

   consultant, or agent of Defendants; (b) Defendants and any entities in which

   Defendants have a controlling interest, or which have a controlling interest in

   Defendants; (c) any entities in which Defendants’ officers, directors, or employees

   are employed; (d) any of the legal representatives, heirs, successors, or assigns of

   Defendants; (e) the Judge to whom this case is assigned and any member of the

   Judge’s immediate family and any other judicial officer assigned to this case; (f) any

   of Defendants’ outside counsel and their immediate family.

         1.     The Proposed Class is so numerous that individual joinder is
                impracticable.

         44.    Plaintiff claims, and asserts upon information and belief, that hundreds,

   if not thousands, of individuals or entities in the United States used iContainers

   during the period of time from [date of filing] until now (the “Class Period”).

         2.     Answering questions common to the Proposed Class will drive the
                resolution of this litigation, and common questions predominate
                over individual questions.

         45.    There are questions of law and fact common to the members of the

   Class and that predominate over any questions solely affecting the individual




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   members of the Class. Questions of fact and law common to the Class that will

   materially advance the litigation include, without limitation:

                a.    Whether Defendants have engaged in a marketing scheme by

         which they promise low shipping quotations to potential customers all the

         while knowing that they would materially often add on additional surcharges

         – i.e., engaged in a “bait and surcharge” scheme;

                b.    Whether Defendants are liable for all damages claimed by

         Plaintiff and the Class for the claims set forth herein, including, without

         limitation, compensatory, punitive and/or statutory damages, restitution,

         interest, costs and disbursements, and attorneys’ fees; and

                c.    Whether Defendant should be enjoined from continuing to

         market and sell their shipping services in a materially false and deceptive

         manner.

         3.     SX Holdings’ claims are typical of the claims of all class members.

         46.    Plaintiff SX Holdings is a member of the Proposed Class because it

   paid money and contracted with Defendants to use Defendants’ freight forwarding

   business during the Class Period, and its claims are typical of the claims of the

   members of the Class. Plaintiff has the same interests in this matter as all other

   members of the Class.




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          4.    SX Holdings and its counsel will adequately represent the Proposed
                Class.

          47.   SX Holdings is an adequate class representative, is committed to

   pursuing this action, and has retained competent counsel experienced in class action

   litigation. It will put the interests of the Class Members on equal footing with its own

   interests.

          5.    Certification under Rules 23(b)(2) and (b)(3) is appropriate.

          48.   Class certification of Plaintiff’s claims is appropriate pursuant to Fed.

   R. Civ. P. 23(b)(2) because Defendants have acted or refused to act on grounds

   generally applicable to the Class, making appropriate both declaratory and injunctive

   relief with respect to the Class under the causes of action set forth herein, which are

   alleged in the alternative. The members of the Class are also entitled to injunctive

   relief to end Defendants’ common and uniform policy under the claims set forth

   herein.

          49.   The prosecution of separate claims or defenses by or against individual

   members of the Class would create a risk of either inconsistent or varying

   adjudications concerning individual members of the Class which would establish

   incompatible standards of conduct for the Defendants.

          50.   Adjudications concerning individual members of the class which will,

   as a practical matter, be dispositive of the interests of other members of the class



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   who are not parties to the adjudications, or substantially impair or impede the ability

   of other members of the class who are not parties to the adjudications to protect their

   interests.

          51.   Class certification of Plaintiff’s claims is also appropriate pursuant to

   Fed. R. Civ. P. 23(b)(3) because questions of law and fact common to the Class

   predominate over questions affecting only individual members of the Class, and

   because a class action is superior to other available methods for the fair and efficient

   adjudication of this litigation.

          52.   Plaintiff knows of no difficulty that would be encountered in the

   management of this litigation that would preclude its maintenance as a class action.

   Litigating common issues through a class action is likely more efficient than

   litigating multiple disputed involving the same questions separately.

                                       COUNT I
          Violation of the Florida Deceptive and Unfair Trade Practices Act
                                      (FDUTPA)

          53.   Plaintiff, on behalf of itself and all others similarly situated, repeat and

   reallege paragraphs 1 through 52, as if expressly set forth in this Count.

          54.   A plaintiff must establish three elements to assert a Florida Deceptive

   and Unfair Trade Practices Act claim: (1) a deceptive act or unfair practice; (2)

   causation; and (3) actual damages.




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         55.     Florida law declares that “[u]nfair methods of competition,

   unconscionable acts or practices, and unfair or deceptive acts or practices in the

   conduct of any trade or commerce are hereby declared unlawful.” Fl. Stat. §

   501.204(1).

         56.     The FDUTPA defines “consumer” broadly as an individual, entity, or

   any group or combination. Id. § 501.203(7).

         57.     The FDUTPA defines “trade or commerce” as “advertising, soliciting,

   providing, offering, or distributing, whether by sale, rental, or otherwise, of any good

   or service, or any property, whether tangible or intangible, or any other article,

   commodity, or thing of value, wherever situated.” Id. § 501.203(8).

         58.     As set forth herein above, Defendants have engaged in unfair,

   unconscionable, or deceptive acts and practices by engaging in a “bait and

   surcharge” scheme, involving the steps of enticing customers to use iContainer’s

   services knowing that they would upcharge and add additional surcharges and

   undisclosed fees, then charging surcharges and fees in excess of contracted quotes,

   and abetting the scheme by threatening to or holding cargo hostage until payments

   were made. While quotes for shipping may generally change for various reasons,

   such as if a customer enters the wrong weight or dimensions of their cargo or changes

   in government policy or exchange rates, Defendants’ scheme is wrongly and

   deceptively predicated on systematically underquoting costs with the intention of



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   adding surcharges later for items that they knew or should have known would be

   charged. Part of the entirety of the scheme is to include charges for items that they

   will otherwise specifically claim to be included in their “all inclusive” pricing, a

   scheme that would mislead reasonable consumers into agreeing to use Defendants

   for their international shipping needs and then often finding themselves being

   coerced into having to pay the fees and surcharges in order to free their goods from

   being held up in transit., This is a scheme designed to increase Defendants’ profits

   at the expense of consumers.

         59.    Plaintiff and the Class members have suffered ascertainable and actual

   damages as a direct and proximate result of Defendants’ unfair, deceptive, and

   wrongful acts. As a direct and proximate result of Defendants’ unfair and deceptive

   business practices, Plaintiff is aggrieved by the assessment of additional surcharges,

   junk fees, and assessments by Defendant and members of the class are likewise

   aggrieved and/or incurred damages by making payments or owing balances

   attributable to the surcharges.

         60.    Plaintiff and members of the Class are entitled to a declaration that

   Defendants’ practice of assessing surcharges and junk fees for services above the

   quoted price constitutes an unfair and deceptive practice under FDUTPA.

         61.    Plaintiff and members of the Class are also entitled to equitable relief,

   including restitution of amounts paid for the unlawful surcharges; and the cessation



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   of collection activity for outstanding account balances that included the unlawful

   surcharges.

                                         COUNT II
                                      Breach of Contract

         62.      Plaintiff, on behalf of itself and all others similarly situated, repeat and

   reallege paragraphs 1through 52, as if expressly set forth in this Count.

         63.      As a part of its contract with Plaintiff, Defendant agreed in writing with

   regard to the pricing it provides to customers that:

               Pricing is based on the information supplied by the booking. based on legal
               weight and in-gauge dimensions and are subject to availability of
               equipment and scheduling. RATES ARE SUBJECT TO CHANGE IF
               THE COMMODITY, LOCATION, WEIGHTAND/OR DIMENSIONS
               OFFERED AT THE TIME of booking. The company diligently attempts
               to anticipate all expenses; however, any out-of-pocket expenses will be
               communicated to customer and at your account.

         64.      In charging Plaintiff additionally for Custom Clearance (Broker) Fees,

   CFS Warehouse Fees, Trucking Fees and PayPal Fees, all of which were fees that

   could have been reasonably anticipated by Defendants. Indeed, CFS Warehouse

   Fees are container freight station fees that are, as a matter of standard industry

   practice, assessed for LCL shipments. After arriving at the destination port, LCL

   cargo is taken to a CFS to be deconsolidated; and then, after that, loaded into a truck

   and transported to the final destination.




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         65.      Defendants also breached the contract between Plaintiff and

   Defendants because it did not authorize Defendants to assess the additional charges

   at issue. The contract states that:

               Quotations are given on the basis of immediate acceptance by the
               Customer. Notwithstanding acceptance of the quotations by the Customer,
               the Company shall be at liberty to revise quotations or charges in the event
               of changes of state polices and market in currency exchange, rates of
               freight, insurance premiums or any charges applicable to the goods.

         66.      By its terms, this provision only gives the Company the right to revise

   its quoted prices due to changes in state policies, currency exchanges, rates of

   freight, insurances premiums, which are not at issue here, or changes in “any charges

   applicable to the goods.” This provision, however, must be read in connection with

   the contract provision quoted in paragraph 53, which requires Defendants to

   diligently attempt to anticipate all expenses. This contract term can therefore not be

   read to permit any increase in charges no matter whether the charges could have

   been reasonably anticipated or not. Here, all of the additional charges imposed on

   Plaintiff could have been reasonably anticipated.

         67.      Defendants also breached the delivery terms of the contract. Rather

   than shipping the Plaintiff’s goods to Baltimore, Defendants shipped them to New

   York. This diversion together with Defendants’ hold ups of Plaintiff’s goods while

   it attempted to secure additional payments by Plaintiff caused the almost one-month

   delay in the expected delivery of Plaintiff’s goods in Washington, D.C.


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         68.      Defendants also failed to diligently determine the costs of shipments by

   the members of the Class and thereby breached the contracts Class members had

   with Defendants.

         69.      Plaintiff and the Class members have suffered ascertainable and actual

   damages as a direct and proximate result of Defendants’ breaches of contract in

   amounts yet to be determined.

                                    COUNT III
           Breach of the Implied Covenant of Good Faith and Fair Dealing

         70.      Plaintiff, on behalf of itself and all others similarly situated, repeat and

   reallege paragraphs 1 through 52, as if expressly set forth in this Count, which is

   alleged in the alternative to Count II.

         71.      Defendants contracted with Plaintiff and Class members for the

   shipment of cargo from abroad to the United States. The contract between Plaintiff

   and Defendants is ambiguous as to whether it permits Defendants to impose the

   additional charges at issue. It states that:

               Quotations are given on the basis of immediate acceptance by the
               Customer. Notwithstanding acceptance of the quotations by the Customer,
               the Company shall be at liberty to revise quotations or charges in the event
               of changes of state polices and market in currency exchange, rates of
               freight, insurance premiums or any charges applicable to the goods.




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         72.    The term changes “applicable to the goods” is vague and ambiguous

   and could be read to be limited to changes in the size or quantity of the goods as

   represented in the Quote.

         73.    To the extent that Defendants rely on this provision to justify their

   additional charges to Plaintiffs, Defendants breached the implied covenant of good

   faith and fair dealing by construing this ambiguous provision against Plaintiff.

         74.    By virtue of their actions, Defendants unfairly frustrated the contract’s

   purpose and disappointed the Plaintiff’s and Class members’ expectations and

   deprived Plaintiff and Class members of their contract’s expectation and benefits,

   which led Plaintiff and Class Members to suffer damages in the form of paying

   surcharges and losing business.

         75.    Plaintiff and the Class members have suffered ascertainable and actual

   damages as a direct and proximate result of Defendants’ breach of the implied

   covenant of good faith and fair dealing.

                                     COUNT IV
                                UNJUST ENRICHMENT

         76.    Plaintiff, on behalf of itself and all others similarly situated, repeat and

   reallege paragraphs 1through 52, as if expressly set forth in this Count, which is

   alleged in the alternative to Counts II and III.




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         77.    By virtue of the actions set forth above, Defendants have received

   monies from its wrongful “bait and surcharge” scheme, which monies were derived

   from Plaintiffs and the other members of the Class pursuant to payment of

   unwarranted amounts to Defendants. When considered under the totality of the

   circumstances, particularly given Defendants’ wrongful and deceptive sales

   practices, Defendants have been unjustly enriched to the detriment of Plaintiff and

   the other members of the Class.

         78.    Defendants’ retention of some or all of the monies they gained through

   their wrongful acts and practices would be unjust considering the circumstances of

   their obtaining those monies.

         79.    Defendants should be required to disgorge the unjustly obtained monies

   and to make restitution to Plaintiffs and the other members of the Class, in an amount

   to be determined, of the monies by which they have been unjustly enriched.

                                PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated,

   prays for judgment against Defendant as follows:

         A.     For an Order certifying this case as a class action as provided by Rule

                23(a) and (b) of the Federal Rules of Civil Procedure, appointing

                Plaintiff as class representative, and appointing the undersigned to act

                as Class Counsel;


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         B.    For an Order declaring that Defendants are financially responsible for

               notifying all Class members;

         C.    For an Order prohibiting Defendants from future violations of

               FDUTPA, and requiring Defendants to comply with that statute and all

               applicable rules and regulations;

         D.    Awarding actual damages, punitive damages, and statutory damages

               pursuant to causes of action set forth herein, as well as pre-judgment

               and post-judgment interest on the same;

         E.    Awarding reasonable attorneys’ fees and costs of suit in connection

               with this action; and

         F.    For such other and further relief as Plaintiff and Class members may be

               entitled or as the Court deems equitable and just.

                             DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all issues so triable.

         Respectfully submitted this 18th day of March, 2022.

                                          VARNELL & WARWICK, P.A.
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                                     Attorneys for Plaintiff and the Putative Class




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                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 18th day of March, 2022, I electronically

   filed the foregoing with the Clerk of the Court using the CM/ECF system, which

   will send a notice of electronic filing to all counsel of record.

                                            /s/ Janet R. Varnell
                                            JANET R. VARNELL




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